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                                                                   USDC-SDNY
UNITED STATES DISTRICT COURT                                       DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                      ELECTRONICALLY FILED
                                                                   DOC#:
 DANIEL ANTONIO BERRY,                                             DATE FILED: 10-19-20

                              Plaintiff,
                                                                     19-CV-11810 (RA)
                         v.
                                                                          ORDER
 DARRIN L. SANDERS, et al.,

                              Defendants.



RONNIE ABRAMS, United States District Judge:

         A post-discovery conference is scheduled in this action for Friday, October 23, 2020 at 1:00 pm.

No later than October 21, 2020, the parties are ordered to submit a joint status letter advising the Court

on whether discovery has been completed, contemplated or outstanding motions, estimated trial length,

and the parties’ amenability to pursue alternative dispute resolutions.

SO ORDERED.

Dated:      October 19, 2020
            New York, New York

                                                  RONNIE ABRAMS
                                                  United States District Judge
